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                                               May 29, 2024
Via PACER
The Hon. Philip M. Halpern
United States District Court
Southern District of New York
300 Quarropas St.
White Plains, NY 10601-4150
                                       Re:     P.F. v Y.F.
                                               24-CV-02333 (PMH)
Dear Honorable Judge Halpern,

       My office represents the Respondent/Father in a family court matter concerning the subject
children pending in Rockland Family Court (File No.: 42103). This letter is in response to the
purported Notice Pursuant to FRCP 65B for emergency relief filed by Attorney for the Petitioner
yesterday, May 28, 2024, who plans to move this Court today at 10:00 a.m.

        It is respectfully submitted that this “Notice” is insufficient as a matter of law and does not
afford the Respondent sufficient time to be heard on the matter. Same was not sent to me, but
rather only to a paralegal’s email address at 5:26 p.m. yesterday which email is not monitored
outside of normal business hours. I was given coincidental notification of the email by the Attorney
for the Children, Nicole Greenwald, Esq., later at approximately 8:00 p.m.

       To the extent Attorney for the Petitioner claims that he gave prior notice to my office on
February 15, 2024 of this May 29, 2024 application, I respectfully disagree. A review of the
PACER docket indicated that this case was not opened until March of 2024, and an application for
May 29, 2024, was never conveyed to me nor my client. Mr. Menachim is aware that this office
does not represent the Respondent Father in the Federal Court Action.

       In light of the foregoing, we respectfully request that the Court decline to entertain the
Motion based on improper notice and afford Respondent, Mr. Felberbaum, the opportunity to be
heard and retain counsel to represent him in this federal court matter.
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       Thank for your consideration of this request.

                                            Respectfully yours,


                                            Rachel F. Ciccone, Esq.

RC/cs
cc: Menachem White, Esq. (via email)
    Jacob Felberbaum (via email)
    Nicole Greenwald, Esq., AFC (via email)
